                  Case 21-00269       Doc 2     Filed 12/27/21    Page 1 of 2




                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MARYLAND
                              GREENBELT DIVISION

 In re: GRACE SHIRI NDIFOR,
                                                         Chapter 7
                       Debtor.                           Case No. 21-16049-TJC

 NATIONWIDE JUDGMENT RECOVERY,
 INC.,

                       Plaintiff,

 v.                                                      Adversary No.

 GRACE SHIRI NDIFOR, aka GRACES
 NDIFORNJIE, aka GRACE NDIFOR-NIJE,
 aka GNDIFOR,

                       Defendant.


      NATIONWIDE JUDGMENT RECOVERY, INC.’S DISCLOSURE PURSUANT TO
                     LOCAL BANKRUPTCY RULE 7003-2

        Nationwide Judgment Recovery, Inc. (“Nationwide”), Plaintiff, by its undersigned

attorney, and pursuant to Local Bankruptcy Rule 7003-2, hereby states that it has no parent

company and that no publicly held company owns 10% or more of its stock.

This is the 27th day of December, 2021.       Respectfully submitted,

                                              /s/ Richard E. Hagerty
                                              Richard E. Hagerty, Bar No. 05646
                                              TROUTMAN PEPPER HAMILTON SANDERS
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122389630v1
              Case 21-00269   Doc 2     Filed 12/27/21   Page 2 of 2




                                      Jacob R. Franchek (pro hac vice admission
                                      pending)
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                                      Counsel for Nationwide Judgment Recovery, Inc.




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